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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No.

   AMERICAN CRICKET PREMIER
   LEAGUE, LLC,

                 Plaintiff,

          v.

   USA CRICKET, a Colorado Non-Profit
   Corporation, INTERNATIONAL CRICKET COUNCIL,
   WILLOW TV INTERNATIONAL, INC., CRICKET ACQUISITION CORPORATION,
   AMERICAN CRICKET ENTERPRISES, INC., PARAAG MARATHE,
   AVINASH GAJE, VENU PISIKE, ATUL RAI,
   NADIA GRUNY, ERIC PARTHEN, and JOHN DOES 3-10,

                 Defendants.



                       CORRECTED COMPLAINT AND JURY DEMAND

          Plaintiff American Cricket Premier League, LLC (“American Cricket”), by its undersigned

   counsel, files this Complaint against Defendants USA Cricket, the International Cricket Council

   Limited (“ICC”), Willow TV International, Inc. (“Willow”), Cricket Acquisition Corporation

   (“CAC”), American Cricket Enterprises, Inc. (“ACE”), Chairman of USA Cricket Paraag Marathe,

   Avinash Gaje, Venu Pisike, Atul Rai, Nadia Gruny (Gaje, Pisike, Rai, and Gruny are collectively

   the “Conflicted Board Members”), Eric Parthen, and John Does 3-10 (all collectively, the

   “Defendants”).

                                   NATURE OF THE ACTION

          1.     This is an action for damages and injunctive relief against Defendants for

   conspiring to do something they would not tolerate on the cricket playing field (or “pitch”)—

   rigging competition.
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          2.      Defendants USA Cricket and ICC—respectively the U.S. national and global

   governing bodies of cricket—are the exclusive gatekeepers of the professional cricket league

   market in the United States. Without their imprimatur, no cricket league will have the legitimacy

   and international support necessary to survive and thrive in the United States.

          3.      But while fair play and following the rules are requirements on the cricket pitch

   (see ICC Code of Ethics § 1.1.1) (“Cricket is renowned for strong ethical values of fair play and

   sportsmanship and the International Cricket Council (ICC) aspires to the highest ethical standards

   in its governance and administration of the sport.”), Defendants USA Cricket and ICC, with

   assistance from Defendants Willow, CAC, ACE, Chairman Marathe, the Conflicted Board

   Members, Parthen, and the John Does, have dispensed with those requirements when selecting a

   private company to create and operate a professional cricket league and hold matches sanctioned,

   governed, and regulated by the ICC in the United States. The Defendants have illegally corrupted

   competitive processes through unbridled acts of favoritism, payoffs, ignoring or changing

   procedures without notice, and other self-interested acts of chicanery and corruption that have both

   excluded Plaintiff American Cricket from, and harmed, the development of professional cricket

   matches in the United States, all to the detriment of U.S. consumers.

          4.      Defendants USA Cricket and ICC claim to have held a fair and open bidding

   process to select a commercial partner to create and operate a professional cricket league in the

   United States, but the reality is far different. USA Cricket and ICC set up the rules of the bidding

   process to ensure the exclusion of American Cricket. To further that goal, USA Cricket and the

   Conflicted Board Members conspired with Willow and/or CAC, television broadcasters of cricket

   in the United States and Canada, to ensure the selection of ACE, an entity that is run by Vijay

   Srinivasan, the founder and CEO of Willow and CAC, and Satyan Gajwani and Vineet Jain,




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   principals of The Times Group of India, as quickly as possible and after only a minimal review of

   the other proposals.

          5.      Upon information and belief, Willow- and/or CAC-backed ACE offered an

   objectively inferior proposal to that which American Cricket—and possibly other bidders—

   submitted. The selection of Willow- and/or CAC-backed ACE by Defendants USA Cricket and

   ICC is not surprising, however, given their expressed bias against American Cricket and one of its

   principals, Jay Pandya, as well as the numerous conflicts of interest between USA Cricket, Willow,

   CAC, and the Conflicted Board Members. For example, Willow and/or CAC recently provided

   massive amounts of free in-kind advertising to the Conflicted Board Members when they were

   candidates for the Board of Directors of USA Cricket, which enabled them to win their elections.

   After each of the Conflicted Board Members won their elections, they were asked to vote on ACE’s

   Willow-backed proposal and, in effect, return the favor. They also knew that they would need

   Willow and/or CAC’s continued support to remain in office and win reelection at the ends of their

   respective terms. Moreover, ACE’s other backers are the principals of The Times Group of India,

   a major media partner of the ICC in India and a key sponsor of ICC-sanctioned events in India and

   elsewhere.

          6.      The rushed and conflicted bidding process robbed American Cricket of an

   opportunity to compete fairly for the right to make an ICC-sanctioned cricket league a reality in

   the United States.

          7.      American Cricket knows it was not guaranteed to be selected as a commercial

   business partner of USA Cricket and the ICC. But it was entitled to a fair bidding process.

   However, this is not just a case about harm to American Cricket. This is a case about the most

   egregious type of foul play in the American economy—harming fair competition and the chance




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   to succeed on the merits. By conspiring to create, and gain personal benefit from, a rigged bidding

   process, Defendants have robbed American cricket enthusiasts, sponsors, and competitors of what

   a fair competitive bidding process is supposed to produce—better quality, lower prices, more

   innovation, and more output, all to benefit the sport of cricket. American Cricket and supporters

   of cricket in the United States deserve better. This Court must blow the whistle on such conduct.

          8.      American Cricket thus brings this Complaint for relief under the federal Sherman

   Antitrust Act (for both an agreement in restraint of trade under Section 1 and a conspiracy to

   monopolize under Section 2) (Counts One and Two), the Colorado Antitrust Act (Count Three),

   California’s Cartwright Act (Count Four), California’s Unfair Competition Law (Count Five), and

   various state law claims concerning tortious interference with business relations (Count Six),

   tortious interference with contract (Count Seven), and civil conspiracy (Count Eight).

                                               PARTIES

          9.      Plaintiff American Cricket is a Delaware Limited Liability Company with its

   principal place of business located at 9101 Alta Drive, Suite 1801, Las Vegas, Nevada 89145.

                  a. One of American Cricket’s principals, Jay Pandya, is an experienced

                      businessperson and cricket executive. He is the owner of the St. Lucia Stars, a

                      professional cricket team in the Caribbean Premier League, and chairman of

                      Global Sports Ventures (“Global” or “GSV”), a company that was previously

                      involved in the commercial development of cricket properties.

                  b. American Cricket is also led by Steven Maksin. Mr. Maksin is the founding

                      member of Moonbeam Capital Investments LLC, a private equity fund whose

                      affiliates own and manage a real estate portfolio including over 10 million

                      square feet of residential, commercial, retail, office, and hotel space across 20

                      states nationwide. Mr. Maksin’s oversight includes the acquisition of distressed


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                      properties   and    non-performing     loans;    property   management       and

                      redevelopment; expanding Moonbeam’s alliances with industry and strategic

                      partners; and interfacing with financial institutions and investors. Mr. Maksin’s

                      real-estate experience is an unparalleled asset to American Cricket’s robust

                      infrastructure and stadium-development capabilities.

          10.     Defendant USA Cricket is a Colorado non-profit corporation with its principal

   place of business located at 1530 South Tejon Street, Colorado Springs, Colorado 80905.

          11.     Defendant ICC is a British Virgin Islands corporation with its principal place of

   business located in the City of Dubai, United Arab Emirates, at Street 69, Dubai Sports City,

   Sheikh Mohammed Bin Zayed Road, Dubai, PO Box 500 070, UAE.

          12.     Defendant Willow is a California corporation with its principal place of business in

   Palo Alto, California 94303.

          13.     Defendant ACE is a California corporation with its principal place of business in

   San Mateo, CA 94401.

          14.     Cricket Acquisition Corporation is a Delaware corporation with its principal place

   of business in Mountain View, CA 94041. It operates as a subsidiary of Times Internet Limited,

   which is the digital arm of The Times Group of India, the largest media conglomerate in India.

          15.     Defendant Paraag Marathe is the Chairperson of USA Cricket and an Independent

   Director on the USA Cricket Board of Directors. Chairman Marathe is also the Executive Vice

   President of the San Francisco 49ers professional football franchise and conducts USA Cricket

   business from his office in Santa Clara, California. Upon information and belief, Chairman

   Marathe is a resident of Los Altos, California.




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          16.     Defendant Avinash Gaje is an Individual Director on the USA Cricket Board of

   Directors. Upon information and belief, Gaje is a resident of Monmouth Junction, New Jersey.

          17.     Defendant Venu Pisike is an Individual Director on the USA Cricket Board of

   Directors. Upon information and belief, Pisike is a resident of Cumming, Georgia.

          18.     Defendant Atul Rai is the League Director on the USA Cricket Board of Directors.

   Upon information and belief, Rai is a resident of Santa Barbara, California.

          19.     Defendant Nadia Gruny is the Female Player Director on the USA Cricket Board

   of Directors. Upon information and belief, Gruny is a resident of Davie, Florida.

          20.     Defendant Eric Parthen is employed by Defendant ICC as the USA Project

   Manager and conducts business on behalf of the ICC primarily from USA Cricket’s office in

   Colorado Springs, Colorado. Upon information and belief, Parthen is a resident of Colorado

   Springs, Colorado.

          21.     Defendants John Does 3-10 are individuals and/or entities, including officers,

   directors, agents, and/or employees of the other Defendants, whom American Cricket believes may

   have engaged in the activities discussed herein and about which more detail may become available

   to American Cricket through additional investigation and discovery. American Cricket expressly

   reserves the right to add specific individuals and entities as Defendants to this action.

                                    JURISDICTION AND VENUE

          22.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this

   action arises under the laws of the United States. This Court also has subject-matter jurisdiction

   under 28 U.S.C. § 1332 because the matter in controversy exceeds $75,000 and the parties are

   diverse. This Court has supplemental jurisdiction over American Cricket’s state-law claims under

   28 U.S.C. § 1367(a).




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           23.      This Court has personal jurisdiction over Defendants because they have continuous

   and systematic contacts with this forum as a result of regularly conducting business activities

   within the State of Colorado and the District of Colorado (“this District”), including but not limited

   to invocation of the liability limitations and corporate governance provisions of Colorado Revised

   Statutes by USA Cricket as a domestic corporation, and the other Defendants’ business dealings

   with USA Cricket.

           24.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

   substantial part of the events or omissions giving rise to American Cricket’s claims occurred in

   this District.

                                       FACTUAL ALLEGATIONS

           25.      American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

   The T20 Cricket Revolution

           26.      Cricket is a thriving sport in many countries around the world. It is an athletic

   contest featuring two teams of 11 players using bats and balls that traces its origins to 16th Century

   England and grew with the expansion of the British Empire. A 2018 ICC market research project

   found that there are more than a billion cricket fans worldwide, and each year cricket events set

   new records for ratings and viewership.

           27.      Cricket’s flourishing popularity, both in the United States and internationally, stems

   directly from the emergence of Twenty20 (or “T20”) cricket. T20 cricket was designed in the mid-

   2000s as a faster-paced, flashier version of the game, with a focus on individual players, high-

   scoring excitement, and celebratory fanfare. T20 games are played by sponsored, franchised teams

   with players of different nationalities, and often feature in-game musical performances and




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   fireworks displays. In short, T20 cricket was made for, and has been successful in, prime-time

   television broadcasts that attract advertisers and fans.

          28.     The T20 format has become the most popular professional version of the sport

   primarily because it allows for a single contest to be played efficiently in about three hours, like

   most other major professional team sports. The other formats of professional cricket—Test

   matches (lasting 5 days) and One-Day Internationals (lasting on average more than 8 hours)—run

   far too long to be commercially viable in the United States.

          29.     T20 has enjoyed rapid, worldwide success. In the past decade, over a dozen T20

   leagues have emerged around the world, led by the Indian Premier League, the most attended

   cricket league in the world. In 2017, the Indian Premier League’s broadcasting and digital rights

   for the next five years were sold for $2.55 billion. And, as of 2018, the Indian Premier League

   had a brand value of $6.3 billion. In light of T20’s global success, the T20 format has been

   proposed as an Olympic sport.

          30.     The United States is home to approximately 20 million cricket enthusiasts and is

   second only to India in pay-per-view and online cricket viewers. The United States boasts the

   world’s biggest sports market, and cricket power brokers have long viewed the United States as

   an untapped gold mine. Cricket is on the verge of taking off in the United States; the United States

   promises to be one of the most fertile and lucrative cricket markets anywhere in the world.

   American cricket fans, sponsors, and competitors are waiting to capitalize on and enjoy this

   impending growth.

          31.     The key to creating a robust T20 cricket market in the United States is the same as

   in countries where cricket is already an established sport: a professional league, complete with




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   franchised teams, accomplished athletes, modern fields and stadiums, intra-league matches,

   broadcasting and sponsorship rights, and championships just like any other major sport.

             32.   ICC recognition is crucial for any professional cricket league to be viable and

   internationally recognized.     The ICC organizes and governs cricket’s major international

   tournaments, supplies millions of dollars in tournament prize money (including, for example, $14

   million in prize money for the 2019 ICC Cricket World Cup, more than any other cricket

   tournament to date), attracts lucrative international and domestic sponsorship deals, oversees

   player development, including in youth and women’s leagues, establishes the sport’s Code of

   Ethics, and is accepted worldwide as the sport’s governing body. As of January 1, 2019, each of

   the 104 member nations of the ICC has a national governing organization that is authorized to

   sanction T20 matches. Geoff Allardice, the ICC’s General Manager of Cricket, has publicly stated

   that “any [cricket] tournament would need both the support of the home country [governing body]

   and the ICC.”

             33.   In fact, 15 years ago, an eight-team T20 professional league called Pro Cricket that

   was not ICC-sanctioned was launched in the United States, but the league folded after just one

   season.

             34.   Players that want to compete in ICC-sanctioned international events, or for any of

   the other ICC-sanctioned events, will not participate in a league that is not sanctioned by the ICC

   because they risk losing their ability to play in future ICC matches. This is not a hypothetical.

   From 2007 to 2009, a T20 league in India, called the Indian Cricket League (“ICL”), operated

   without ICC recognition. Players who joined the ICL risked being banned from international play

   by their ICC-affiliated governing bodies. An October 2008 article in the British newspaper the

   Telegraph reported that “[a]ny player signing up with the ICL, a Twenty20 league that does not




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   have official status from the International Cricket Council, risks losing their registration with the

   [England & Wales Cricket Board].” (Exhibit A.) Similarly, a September 2008 BBC article

   reported that the Bangladesh Cricket Board “threatened to ban any player joining the unsanctioned

   Indian Cricket League from international play for 10 years.” (Exhibit B.)

   American Cricket’s Predecessor-in-Interest Wins Development Rights for a Professional
   T20 Cricket League in the United States

          35.     The ICC currently represents 104 national governing bodies, drawn from five

   regions: the Americas, Africa, Europe, Asia, and the East-Asian Pacific region.            The ICC

   designates a governing body in each country to oversee development of the sport of cricket and to

   retain the exclusive rights to promote events sanctioned by the ICC in that country.

          36.     In 1965, the United States of America Cricket Association (“USACA”) joined the

   ICC as the body responsible for promoting and regulating cricket in the United States. USACA

   served in that capacity until its expulsion from the ICC in 2017.

          37.     Against the backdrop of the T20 format’s enormous international success, in or

   around September 2016, USACA announced plans to launch a T20 professional cricket league in

   the United States.

          38.     In connection with this effort, USACA selected Global, an entity formed by Mr.

   Pandya, as its partner to do the commercial development work necessary to establish and operate

   the professional U.S. T20 cricket league (the “Global T20 League”).

          39.     On or around September 29, 2016, Global agreed to pay approximately $70 million

   to enter into a license agreement with USACA through which USACA conveyed to Global certain

   rights and benefits USACA held from the ICC (the “License Agreement”). (Exhibit C.)

          40.     The License Agreement provides that Global “wishes to establish a professional

   cricket league to compete in the sport of cricket in the ‘T20’ format of play, or any format of play



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   developed after the date hereof that is derivative of the T20 format . . . , with teams consisting of

   national and international players, including players who currently are on the roster of national

   cricket boards . . . .”

           41.      The License Agreement granted to Global, among other things, “the exclusive right

   and license . . . to establish, promote, conduct and otherwise commercialize” the Global T20

   League “as the only USACA sanctioned and ICC approved professional T20 league” (the

   “Licensed Rights”).

           42.      Because USACA entered into the License Agreement with Global while USACA

   was temporarily suspended from the ICC (for reasons not associated with Global in any manner),

   the License Agreement provides that the Licensed Rights, among other rights, would not become

   effective “unless and until the Suspension (as defined below) is lifted, terminates or otherwise ends

   (the “ICC Reinstatement”) and the ICC shall have approved USACA’s grant of such rights to GSV

   hereunder . . . .”

           43.      The License Agreement defines “Suspension” as the “ICC’s suspension of those

   rights that ICC previously granted to USACA with respect to its ICC membership under the ICC

   Rules and Regulations.”

           44.      The License Agreement also contains a provision concerning Global’s rights in the

   event the ICC terminated USACA’s membership. That provision states: “Upon the termination

   of this Agreement on account of the suspension o[r] termination of USACA’s membership with

   ICC, USACA shall cause ICC or ICC’s nominated body for the development of cricket in USA,

   to execute the necessary agreements which shall have the effect of providing or continuing, as the

   case may be, the Licensed Rights to GSV, such that GSV’s rights under this Agreement are not




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   jeopardized in the event of suspension o[r] termination of USACA’s membership with ICC” (the

   “Continuing Rights”).

          45.     Following USACA’s selection of Global as its partner to launch the Global T20

   League, Global announced plans to spend approximately $2.4 billion on building new cricket

   stadiums and related infrastructure in New York, New Jersey, Washington, D.C., Georgia, Florida,

   Illinois, Texas, and California, which is more than double what ACE committed to invest nearly

   three years later. Global also began lining up franchises, negotiating major television and

   sponsorship deals, assigning player contracts, and identifying third-party vendors in connection

   with its planned U.S. T20 league.

   ICC Moves to Exclude Global from Involvement in a Cricket League in the United States

          46.     Unbeknownst to both USACA and Global at the time, the ICC had no interest in

   allowing Global’s or Mr. Pandya’s involvement in a U.S. T20 league. The ICC knew, however,

   that given Global’s contract with USACA, if the ICC were to reinstate USACA, the ICC would

   not be able to prevent Global, or Mr. Pandya, from playing a significant role in the future of an

   ICC-sanctioned T20 league in the United States.

          47.     The ICC’s desire to exclude Global and Mr. Pandya is based in large part on the

   fact that Mr. Pandya is not part of the incumbent and traditional Indian business and social circles

   that dominate Indian cricket and the ICC worldwide. Mr. Pandya and his family are not part of

   the elite political, business, and governmental castes in India that control the ICC through their

   official and unofficial positions of influence. He and his family are not affiliated with The Times

   Group, an Indian media conglomerate with close ties to the ICC as a sponsor and promoter of

   cricket. And he and his family are not part of the entrenched cricket power structure that has

   dominated the ICC and its sponsored entities for decades.




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          48.     In response to the agreement between USACA and Global, ICC leaders undertook

   several steps to interfere with the License Agreement and to prevent Global from obtaining the

   Licensed Rights so the ICC could anoint someone else. Although the ICC had already suspended

   USACA at this point, up until Global purchased the Licensed Rights, the ICC had been negotiating

   in good faith without imposing onerous or insurmountable conditions.

          49.     After Global purchased the Licensed Rights, the ICC placed numerous new

   conditions on lifting USACA’s suspension—including the radical requirement that USACA adopt

   an ICC-drafted constitution (which is not what is required of the ICC’s other 103 members)—in

   an attempt to legitimize its effort to expel USACA and to prevent Global from obtaining the

   Licensed Rights. The new conditions imposed by the ICC were arbitrary, designed to be nearly

   impossible for USACA to comply with and were intended solely to justify ICC expelling USACA

   and thereby excluding Global from the T20 cricket market in the United States.

          50.     In response to the conditions the ICC imposed upon USACA, Mr. Pandya

   requested, and was granted, a meeting with ICC Chairman Shashank Manohar in London to

   discuss Global’s purchase of the Licensed Rights and the possibility of a future relationship with

   the ICC to develop the T20 league in the United States that was not to be fully contingent on the

   status of USACA. At that time, Mr. Pandya was unaware of the ICC’s animosity towards him and

   its desire to exclude Global from the T20 cricket market in the United States.

          51.     During the London meeting, Mr. Manohar made it clear that the ICC had no interest

   in working with any entity associated with Mr. Pandya for the reasons identified above. Despite

   being a successful businessperson with a passion for cricket, he was not affiliated with one of the

   favored, elite incumbents that dominated the sport of cricket. The ICC made it clear to Mr. Pandya

   that under no circumstance will the ICC allow any entity associated with him to participate in the




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   creation of an ICC-sanctioned league in the United States. And it was not so subtly pointed out to

   Mr. Pandya that other well-heeled business people have failed to develop their cricket business

   after the ICC refused to recognize them.

   The ICC Expels USACA and Creates the ICC Americas Project USA Team

           52.    In or around June 2017, after Mr. Pandya made it clear to the ICC that Global was

   not going to abandon its relationship with USACA and intended to continue its pursuit of the

   development rights for a T20 league in the United States, the ICC formally expelled USACA from

   its membership, ending a 52-year association between the two organizations.

           53.    The ICC expelled USACA from its membership in large part to prevent the License

   Agreement from going into effect—and thus to prevent Global from automatically obtaining the

   Licensed Rights—so that it could ensure that no entity associated with Mr. Pandya was involved

   with the creation and operation of a professional T20 cricket league in the United States.1

           54.    In furtherance of that effort and to wipe the slate clean, the ICC created the ICC

   Americas Project USA team to lead the development of a new governing body for cricket in the

   United States. The ICC also formed a series of advisory groups (the “Local Advisory Groups”) to

   assist the ICC Americas Project USA team in developing a new governing body for cricket in the

   United States. One of the Local Advisory Groups was the Sustainable Foundation Advisory Group

   (the “SFAG”), which provided advice, support, and guidance to the ICC Americas Project USA

   team.

           55.    Specifically, the ICC charged the SFAG with assisting the ICC Americas Project

   USA team with, among other things, (i) developing and recommending for approval the content



   1
    Global has subsequently transferred all of the Licensed Rights granted under the USACA
   Licensing Agreement to American Cricket.


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   of a constitution for the anticipated new governing body, which would become USA Cricket;

   (ii) developing and assisting in the implementation of a communications plan around the release

   of the new constitution and the subsequent election process for USA Cricket’s Board of Directors;

   (iii) identifying individuals to sit on USA Cricket’s initial Nominating and Governance Committee

   for the purposes of the initial Board of Directors elections; (iv) developing a process to support the

   building of a membership base and the staging of elections for all Board of Directors positions for

   USA Cricket; and (v) assisting the Nominating and Governance Committee in identifying

   Independent Directors to serve as candidates for the new Board of Directors.

          56.     According to publicly available documents, the ICC and the ICC Americas Project

   USA team pledged their full support to the SFAG.

   The ICC Creates USA Cricket

          57.     In conjunction with the ICC’s expulsion of USACA from its membership, the ICC

   Americas Project USA team and the ICC quickly laid the groundwork for establishing USA

   Cricket as USACA’s ICC-endorsed replacement.

          58.     In or around September 2017, just three months after USACA’s expulsion, USA

   Cricket announced in a press release the launch of its branding and social media platforms. The

   press release included a quote from ICC employee Defendant Parthen, stating that this launch “is

   the first step towards getting a new Governing Body up and running.”

          59.     Three months later, in or around December 2017, USA Cricket announced that the

   SFAG had formally approved USA Cricket’s constitution, a necessary pre-requisite for USA

   Cricket to become the new governing body for ICC-sanctioned cricket in the United States.

          60.     In or around February 2018, USA Cricket launched its official membership

   program. The press release announcing the membership program described it as “the next step in

   the process to build a world-class U.S. governing body for cricket [that] will help facilitate a fair


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   and transparent election process that engages the entire U.S. cricket community and unifies the

   sport moving forward.” The press release also stated that “USA Cricket membership would be

   able to vote on seven (7) of the ten (10) Board members,” and that the “new USA Cricket Board

   of Directors is expected to be in place by May 2018.” In addition, the press release included a

   quote from ICC employee Defendant Parthen, stating that the membership program “marks one of

   the most crucial steps in the process for the establishment of a governing body that will engage

   everyone involved in the U.S. cricket community.”

          61.     Upon information and belief, the ICC provided, and continues to provide, nearly

   all the funding necessary to establish, promote, and operate USA Cricket.

          62.     Upon information and belief, the ICC also provided, and continues to provide,

   logistical and administrative support to USA Cricket on a regular basis. For example, based on

   publicly available information, the ICC registered USA Cricket’s website, www.usacricket.org,

   and lists itself as the Registrant Contact with a mailing address in Dubai.

          63.     Upon information and belief, the ICC uses its own personnel, including but not

   limited to Defendant Parthen, to conduct ICC business purportedly on behalf of USA Cricket. In

   fact, Defendant Parthen conducts ICC business from USA Cricket’s office in Colorado Springs,

   Colorado.

          64.     Upon information and belief, USA Cricket could not sustain its operations without

   the financial, administrative, and logistical support of the ICC.

   USA Cricket Elected its Initial Board of Directors through Willow- and/or CAC-Sponsored
   Campaigns

          65.     In or around April 2018, USA Cricket announced the formation of a four-person

   Nominating and Governance Committee. The Nominating and Governance Committee was

   responsible for, among other things, leading the election process for USA Cricket’s Board of



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   Directors, vetting all Board candidates, and identifying and recommending for appointment three

   independent directors for USA Cricket’s Board of Directors.

          66.     USA Cricket announced that the ICC Chief Executive at the time, David

   Richardson, was one of the four members of the Nominating and Governance Committee.

          67.     Far from being the representative and fair “fresh start” the ICC had heralded, the

   campaigns to elect the first Board of Directors of USA Cricket were infected from the start by

   unethical conduct.

          68.     Willow and/or CAC, entities owned and run by affiliates of the influential Times

   Group of India (a key sponsor of ICC-sanctioned events in India and elsewhere), worked to

   ingratiate themselves with the ICC and USA Cricket. On information and belief, Willow and/or

   CAC paid for substantially all of the campaign expenses for the Conflicted Board Members. This

   included significant amounts of free ad creation and advertising time on the only source for cricket

   broadcasts of ICC-sanctioned events in the U.S.

          69.     In or around August 2018, USA Cricket announced the winners of the seven elected

   seats on USA Cricket’s Board of Directors. The announcement states that the results were

   validated by the ICC in Dubai.

          70.     Each of the four Conflicted Board Members won their contested elections. And,

   when combined with the three non-member-elected Board members approved by the Nominating

   and Governance Committee and selected by the USA Cricket Board of Directors (with the help of

   the ICC), there was now a clear majority of the Board beholden to ICC-friendly interests.

   USA Cricket Announces United States Professional T20 League RFP

          71.     In November 2018, just three months after solidifying an ICC-, Willow-, and CAC-

   friendly Board of Directors, USA Cricket announced the United States Professional T20 League

   RFP (the “RFP”), which sets forth the parameters of USA Cricket’s purported competitive bidding


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   process for selection of a commercial partner (the “RFP Bid Process”). (Exhibit D.) The RFP

   states that “USA Cricket is looking for a partner to help capitalize on [America’s] interest levels

   in the sport and, specifically, to construct, fund, launch and operate the first professional T20

   cricket league (the “League”) in the United States.” (Id.)

          72.     The RFP states: “With the full support of the ICC, USA Cricket has formally

   applied for membership of the ICC as its recognized National Governing Body for cricket in the

   U.S.—a process that is expected to be completed in December 2018. Once complete, USA Cricket

   will be the sole governing body of cricket in the U.S. that is fully recognized and supported by the

   ICC and its 104 members around the world.” (Id.)

          73.     The RFP states: “The ICC Board recently approved a transitional plan to support

   the activities of USA Cricket moving forward and, as part of that plan, has committed to provide

   financial and human resources, knowledge, expertise, and guidance to USA Cricket across all of

   its key activities, including the development of this professional T20 league. As such, this RFP

   process is fully supported by the ICC.” (Id.)

          74.     The RFP sets forth fifteen topic areas that a party wishing to respond to the RFP (a

   “Proposer”) “should clearly address”:

                  a. analysis of prior attempts to establish a professional cricket league in the United

                      States and how the Proposer would plan to use best practices and lessons

                      learned from such events;

                  b. competitive analysis of global T20 leagues and the international and domestic

                      cricket calendar and how the Proposer will use best practices and lessons

                      learned to ensure that the League coexists with (and does not compromise) the

                      vibrancy and health of international cricket;




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               c. short and long term vision and plan for the League;

               d. proposed League structure (e.g., league and team ownership model, duration of

                  League license, teams and facilities, number of matches and structure of the

                  League, strategy for the acquisition and use of foreign and domestic players,

                  etc.);

               e. proposed financial model that will underpin the success of the League including

                  the upfront capital available to start the League and the proposed income

                  streams and operational expenditures of the League and teams, etc. The model

                  should include a financial and headcount pro forma for the first five years of

                  operation with conservative, balanced, and aggressive forecasts;

               f. proposed League management structure, operational org chart, and

                  comprehensive bios on all management and ownership, including: (i) full

                  details of any litigation brought against any of them in the last 10 years; (ii) all

                  relevant previous experience within professional sport and other relevant

                  professional experience and credentials; and (iii) any actual or potential

                  conflicts of interest;

               g. proposed implementation timeline and optimal timeframe during the year to

                  operate the League;

               h. how the League will assist USA Cricket with the five objectives described in

                  the Project Description and in delivering its purpose set out in Appendix A;

               i. strategy for the support and development of players qualified to play for USA

                  Cricket’s national cricket teams, including men’s, women’s, and youth teams;




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                 j. strategy for the acquisition and/or use of appropriate training and playing

                     facilities by teams in the League;

                 k. media rights valuation and proposed broadcast and digital delivery distribution

                     strategy for the League’s content;

                 l. commercial rights (excluding media rights) valuation and proposed strategy for

                     the League’s content;

                 m. additional revenue and/or profit-generating streams beyond League operations;

                 n. unique value adds and/or differentiating factors of the Proposer versus other

                     potential operators; and

                 o. any other additional content, comments, analysis or proposals that the Proposer

                     would like to be considered as part of their RFP response.

          75.    The RFP states that USA Cricket “will consider at least the following factors” when

   evaluating proposals:

                 a. The quality and scope of the Proposer’s response;

                 b. Creativity reflected in the proposal for unique operational plans and related

                     marketing and promotional ideas to attract new revenue and growth

                     opportunities for USA Cricket;

                 c. Proposer’s financial condition, ownership structure, and ability to credibly

                     secure and underwrite the costs of the proposal;

                 d. Proposer’s ability to execute a long term vision and plan; and

                 e. Experience / expertise with the commercialization of a sporting property (e.g.,

                     production, broadcast, market development, promotion, fan engagement, etc.).




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          76.     The RFP states that “[a]t any time prior to the date of submission, USA Cricket, at

   its sole discretion, may amend the terms of the RFP” and that “[a]ny amendments will be notified

   in writing.”

          77.     Upon information and belief—and based on the RFP itself—the ICC was materially

   involved in creating the RFP, executing the RFP Bid Process, and selecting a winner of the RFP

   Bid Process. For instance, Defendant Parthen, who was significantly involved with the USA

   Cricket RFP Bid Process (as further described herein), was and is employed by the ICC and, upon

   information and belief, informed the ICC about all aspects of the RFP Bid Process and, in

   particular, the exchanges between USA Cricket and American Cricket relating to the RFP Bid

   Process (as further described herein).

          78.     In addition, email correspondence from Defendant Parthen to American Cricket

   states that USA Cricket’s decisions during the RFP Bid Process “carry the full support of the ICC”

   and that any actions, legal or otherwise, taken by American Cricket to challenge the RFP Bid

   Process “would be robustly defended by USA Cricket with the full support of the ICC.”

   (Exhibit E.) Defendant Parthen’s email also states that the ICC “has observed and been consulted

   on large parts of the [RFP] process”; however, this understates the ICC’s role in the RFP Bid

   Process, as the ICC was involved in every material aspect of the process. (Id.)

   American Cricket’s RFP Response

          79.     American Cricket timely submitted its response to the RFP on January 18, 2019

   (the “RFP Response”). American Cricket expected USA Cricket to give fair consideration of

   American Cricket’s proposal in order to promote USA Cricket’s stated mission, the development

   of cricket in the United States.

          80.     American Cricket’s 256-page RFP Response included the following elements,

   among others, in exchange for the rights to create and operate the League: (1) $8 million in


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   guaranteed compensation to USA Cricket for each of the first two years and a total of $516 million

   in guaranteed financial compensation over a period of 25 years; (2) a detailed description of

   American Cricket’s development capabilities for acquiring and building new facilities, including

   a facility already in development in Dallas, Texas, and one soon to be announced in Atlanta,

   Georgia; (3) a two percent risk-free equity stake in American Cricket’s real-estate development

   fund, which has a current value of $1 billion (and thus an immediate value to USA Cricket of $20

   million); and (4) a plan that would have resulted in at least an additional $2 billion investment to

   develop the league.

          81.     Upon information and belief, Willow-backed ACE, with backing from Vijay

   Srinivasan, the founder and CEO of Willow and CAC, and the principals of The Times Group of

   India, also submitted an RFP response in January 2019, and USA Cricket began negotiating with

   Willow-backed ACE almost immediately afterwards. While USA Cricket was secretly negotiating

   with Willow-backed ACE, American Cricket was told to wait for a set of standard questions that

   the USA Cricket Board would ask all bidders, and that the questions would be submitted to all

   bidders simultaneously once an internal vetting process had been completed. The USA Cricket

   Board never submitted any questions to American Cricket.

          82.     Instead, American Cricket representatives were invited to make an in-person

   presentation concerning its proposal to a partial group of the USA Cricket Board. The meeting

   lasted approximately 90 minutes, and the USA Cricket Board Members asked only a handful of

   questions. American Cricket was never allowed to meet with the full USA Cricket Board and was

   never given an opportunity to fully present its proposal.

   USA Cricket Rejects American Cricket’s RFP Response and Accepts ACE’s

          83.     On March 18, 2019, roughly two months after the RFP submission deadline,

   Defendant Parthen notified American Cricket by phone and email, purportedly on behalf of USA


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   Cricket’s Board of Directors, that USA Cricket had selected another Proposer instead of American

   Cricket.

           84.     USA Cricket provided no detailed explanation of its decision-making to American

   Cricket and never identified any actual deficiency with American Cricket’s proposal. To the

   contrary, Defendant Parthen stated in an email dated March 18, 2019, that American Cricket’s

   proposal “was extremely thorough” and “stood out as the only bidder who laid out a

   comprehensive and elaborate plan to develop mixed-use stadium developments,” noting that

   “[t]his type of infrastructure would be a beacon for professional cricket in the United States.”

   (Exhibit F.) The email also stated that American Cricket’s “assembled team is very impressive,

   boasting a track record of excellence in their respective fields,” and that “[i]t is also beneficial that

   [the American Cricket team includes members who] previously attempted launching a T20 cricket

   league.”

           85.     American Cricket subsequently learned that USA Cricket preliminarily selected

   Willow-backed ACE as the winner of the RFP Bid Process, and on May 23, 2019, USA Cricket

   formally announced that it had selected ACE as its strategic partner for the development of a

   professional T20 league in the United States. Its press release referenced without any detail that

   ACE’s selection would lead to the investment of more than $1 billion in the development of cricket

   in the United States. But USA Cricket failed to mention that American Cricket’s RFP submission

   would have led to more than double that amount being invested.

           86.     Based on subsequent conversations with individual members of USA Cricket’s

   Board of Directors and other USA Cricket officials that reached out to American Cricket to express

   concerns about the integrity of the RFP process, American Cricket learned that its RFP Response




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   was superior to every other response on every objective metric and included a far more

   comprehensive infrastructure and economic development plan than any other Proposer.

             87.   Specifically, American Cricket was told that the winning bidder, ACE, initially

   offered far less financial compensation to USA Cricket—a mere $2 million in financial

   contribution for each of the first two years (hundreds of millions of dollars less over the course of

   25 years than American Cricket guaranteed). And ACE’s initial proposal had no plans to develop

   mixed-use stadiums, which has been key to the success of teams in other T20 leagues and other

   sports.

             88.   American Cricket also learned from members of USA Cricket’s Board of Directors

   that certain Board members preferred American Cricket’s proposal over that of any other Proposer

   and had wanted USA Cricket to conduct further discussions and negotiations with American

   Cricket rather than make the rapid award to Willow-backed ACE. But those Board members were

   denied the opportunity to engage in such discussions with USA Cricket because they were told

   that the leadership of USA Cricket and the ICC had already decided who was going to win the

   RFP process. In fact, on information and belief, even before the locked-in ICC majority even

   formally cast its pre-ordained “vote,” one of the Conflicted Board Members was already talking

   directly to ACE or its principals about assisting as a real estate consultant to develop a stadium

   property for ACE for the T20 league (and has continued to do so after ACE was picked). And at

   the same time that the RFP process was pending, another member of the USA Cricket Board of

   Directors, Rohan Sajdeh, was assisting Star TV in regaining the broadcasting rights for ICC-

   sanctioned events in the United Kingdom, and, in turn, Star TV granted Willow and/or CAC

   distribution rights for ICC-sanctioned events in the United States.




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           89.    USA Cricket’s Constitution provides that each Director and Officer, among others,

   “shall discharge his or her duties in that position, (i) in good faith; (ii) with the care an ordinarily

   prudent person in a like position would exercise under similar circumstances; (iii) in a manner

   maintaining the confidentiality of proprietary and/or confidential information; and (iv) in a manner

   the individual reasonably believes to be in the best interests of USA Cricket. (Exhibit G § 14.3.)

           90.    USA Cricket’s Constitution also provides that “USA Cricket shall adopt a Code of

   Ethics and Conduct, which shall include a Conflicts of Interest Policy . . . applicable to all USA

   Cricket members and employees, Board of Directors, Officers, and USA Cricket Committees.”

           91.    In violation of the USA Cricket Board Members’ ethical obligations, as set forth in

   the USA Cricket Constitution and elsewhere, upon information and belief, no Board Members

   recused themselves from the RFP Bid Process (other than Defendant Chairman Marathe, who was

   a senior leader who had already made well known his preference for ACE’s Willow-backed

   proposal) despite clear conflicts of interest involving ACE, Willow, CAC and other personal

   interests.

           92.    Based on conversations with some USA Cricket Board members, the reason the

   Board of Directors did not adequately consider American Cricket’s RFP Response was because

   the Board and the ICC had already pre-determined to accept ACE’s bid. USA Cricket had no

   intention to pick any proposal associated with Mr. Pandya, and the entire process was window-

   dressing intended to create the impression of fair competition.

   USA Cricket Admits It Didn’t Really Understand American Cricket’s Proposal

           93.    On or about March 20, 2019, American Cricket emailed USA Cricket to find out

   how USA Cricket could have reasonably selected Willow-backed ACE given the contents of

   American Cricket’s RFP Response and the information American Cricket subsequently learned




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   from certain USA Cricket Board Members and other USA Cricket officials about ACE’s

   submission.

          94.      In response, Defendant Chairman Marathe emailed American Cricket and

   challenged the veracity of American Cricket’s financial commitments contained in the RFP

   Response. Defendant Chairman Marathe provided no basis or support for his challenge, and none

   of the concerns had previously ever been expressed to American Cricket.

          95.      About two weeks later, it became clear that USA Cricket either did not fully

   understand, or had intentionally misrepresented, American Cricket’s RFP response (or was

   developing another ruse to deflect attention from their favoritism of ACE, Willow and CAC).

          96.      Specifically, on April 2, 2019, Defendant Parthen emailed American Cricket about

   what USA Cricket falsely characterized as new information concerning American Cricket’s RFP

   Response. The email stated that, “during recent conversations with Mr. Pandya, [USA Cricket’s

   Board of Directors] now understand[s] that your team is prepared to secure the payments to be

   made to USA Cricket over the term of the proposed license arrangement by way of a bank

   guarantee.”

          97.      Yet American Cricket’s RFP Response indicated in multiple places that its financial

   commitments were guaranteed. This was not new information, and the USA Cricket Board of

   Directors had clearly not reviewed American Cricket’s proposal. Had USA Cricket devoted any

   material attention to American Cricket’s proposal or inquired about further specifics regarding

   American Cricket’s guaranteed financial commitments during the review process, they would have

   seen—or American Cricket would have confirmed and explained—the financial commitments of

   its proposal.




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          98.     But USA Cricket did not ask American Cricket any follow-up questions or elicit

   any further information about the RFP Response, or even spend more than 90 minutes with

   American Cricket or have the full USA Cricket Board meet for any amount of time with American

   Cricket. Upon information and belief, USA Cricket did not spend more time with, ask follow-up

   questions of, or elicit further information from American Cricket because it was understood that

   the decision had already been made to select Willow-backed ACE.

   USA Cricket Changes the Terms of Engagement for the RFP Process

          99.     In light of this purportedly “new” information about American Cricket’s financial

   commitments, USA Cricket—through ICC employee Defendant Parthen—informed American

   Cricket that it “decided that it would be appropriate to offer [American Cricket] an opportunity to

   re-present to the RFP committee in more detail” American Cricket’s financial projections and

   proposed funding mechanisms.

          100.    However, this was not truly a desire to re-consider the errors of USA Cricket’s

   ways. It was, unfortunately, a ruse intended to hide USA Cricket’s and ICC’s chicanery. Instead

   of allowing American Cricket a reasonable opportunity to fully present its proposal, USA Cricket

   made the offer to entertain further discussions contingent upon American Cricket signing brand

   new terms of engagement (the “New Terms of Engagement”). (Exhibit H.) Upon information and

   belief, the ICC advised USA Cricket on the drafting and implementation of the New Terms of

   Engagement to silence American Cricket’s justified misgivings about the fairness of the RFP

   process and decision.

          101.    The New Terms of Engagement impose new, extraordinary conditions on the RFP

   Bid Process that go beyond the scope of the initial RFP. The New Terms of Engagement thus

   conflict with the plain language of the RFP, which provides: “[a]t any time prior to the date of




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   submission, USA Cricket, at its sole discretion, may amend the terms of the RFP” (emphasis

   added). (Exhibit D at 4.)

           102.   For example, the New Terms of Engagement state: “[b]y participating in the RFP

   process to date and in any further discussions and/or negotiations with USA Cricket, the Applicant

   acknowledges and agrees to be bound by and to comply with the terms of the RFP generally . . . as

   well as, without limitation, the following terms and conditions . . . .” (Exhibit H at 1.)

           103.   The New Terms of Engagement also state, in contravention of the RFP, that USA

   Cricket may “change any aspect of this RFP, issue any separate amendment or addendum to this

   RFP (which will become part of this RFP upon issue) or withdraw the RFP in its entirety.”

   (Id. ¶ 2).

           104.   Despite the RFP’s clear instruction that USA Cricket “will consider at least the

   following factors” (Exhibit D at 4), the New Terms of Engagement state that “USA Cricket is not

   obliged to accept or consider any Proposal in full or in part or any responses or submissions in

   relation thereto and USA Cricket may reject any Proposal, responses or submissions (or any part

   thereof) and, in its sole and absolute discretion, may refuse to award any business in connection

   with any submission or [sic] the RFP.” (Exhibit H ¶ 3).

           105.   Similarly, the New Terms of Engagement state that “USA Cricket may, in its sole

   and absolute discretion, waive any of the conditions and/or requirements set out in the RFP in

   respect of any or all of the Applicants.” (Id. ¶ 5).

           106.   Generally, the New Terms of Engagement purport to, among other things,

                  a. Constitute a release and waiver of all existing and future potential claims

                      against USA Cricket in connection with the RFP bid process;




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                  b. Allow USA Cricket in its “sole and absolute” discretion to select a winner

                     without providing any reasons for its decision;

                  c. Allow USA Cricket to reject any proposal in its sole and absolute discretion for

                     any reason or no reason at all;

                  d. Allow USA Cricket to impose other as of yet undisclosed terms and conditions

                     on the RFP bid process in its sole and absolute discretion; and

                  e. Allow USA Cricket to disregard without consideration or explanation all or any

                     portion of responses and submissions in its sole and absolute discretion for any

                     reason or no reason at all.

          107.    Given the extraordinary and improper terms proposed by USA Cricket, American

   Cricket has not signed the New Terms of Engagement. On April 15, 2019, Defendant Parthen

   emailed American Cricket and stated that USA Cricket would not engage in any further

   discussions with American Cricket if American Cricket did not sign the New Terms of

   Engagement. (Exhibit I.)

          108.    Upon information and belief, USA Cricket asked only American Cricket and ACE

   to sign the New Terms of Engagement. According to Defendant Parthen’s April 15, 2019, email,

   ACE signed the New Terms of Engagement. But Willow-backed ACE was in the catbird’s seat

   given its selection in a biased process by USA Cricket.

          109.    Upon information and belief, USA Cricket and the ICC drafted the New Terms of

   Engagement in response to American Cricket’s challenge to the RFP Bid Process.

          110.    Upon information and belief, USA Cricket and the ICC sought to use the New

   Terms of Engagement to coerce American Cricket to give up its rights so that USA Cricket and




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   the ICC can avoid any liability associated with their choice of Willow-backed ACE as the winner

   of the RFP Bid Process.

          111.    Unwilling to surrender its legal rights or endorse an unfair process in order to

   continue the discussion, American Cricket did not sign the New Terms of Engagement, effectively

   ending its ability to be formally considered by USA Cricket. On May 23, 2019, USA Cricket

   formally announced that it had selected ACE as its strategic partner.

                                    ANTITRUST ALLEGATIONS

   Interstate Commerce

          112.    The activities of USA Cricket, ICC, and the other Defendants referenced herein are

   in, and affect, interstate commerce.

          113.    Many of the activities of USA Cricket, ICC, and the other Defendants referenced

   herein are in the regular, continuous, and substantial flow of interstate commerce, and have a

   substantial effect on interstate commerce.

          114.    Many of the conspiratorial and anticompetitive acts alleged herein undertaken by

   the Defendants have, and continue to have, a direct, substantial, and reasonably foreseeable impact

   on interstate commerce.

   Relevant Markets

          115.    Defendants’ conduct has affected interstate commerce in two relevant antitrust

   markets. The first relevant product market is the market for the provision of services related to the

   creation and operation of an internationally recognized professional T20 cricket league sanctioned,

   governed, and regulated by the ICC (the “League Market”). As described herein, given the

   commercial realities of the type of cricket matches desired by fans, advertisers, and sponsors,

   neither another format of cricket nor a league unsanctioned by the ICC are reasonably

   interchangeable alternatives to a T20 cricket league accredited by the ICC.


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          116.    A hypothetical monopolist in the market for the provision of services related to the

   creation and operation of an internationally recognized professional T20 cricket league sanctioned,

   governed, and regulated by the ICC could implement a small but significant and non-transitory

   increase in price for such services, which is the hallmark of a properly defined relevant product

   market under current case law and antitrust guidelines promulgated by the federal antitrust

   enforcement agencies.

          117.    The second relevant product market is the market for the provision of services

   related to organizing, promoting, administering, and hosting professional T20 cricket matches (the

   “Match Market”). As described herein, there is no reasonably interchangeable alternative to the

   products offered in this market.

          118.    A hypothetical monopolist in the market for the provision of services related to

   organizing, promoting, administering, and hosting professional T20 cricket matches could

   implement a small but significant and non-transitory increase in price for such services.

          119.    The relevant geographic market for the provision of services in both the League

   Market and the Match Market is the entire United States. This is a distinct area in which a provider

   of the services in the relevant product markets will provide the services, is where consumers will

   seek the relevant products, is where advertisers and sponsors will engage in support of the

   products, and is consistent with the scope of the RFP put forth by Defendants USA Cricket and

   the ICC.

          120.    As the ultimate authorities, with control over the League Market, Defendants USA

   Cricket and ICC unquestionably possess monopoly power in the League Market in the United

   States. In addition, through the exercise of their monopoly power in the League Market, USA

   Cricket and the ICC have affected and will continue to affect the competitive outcomes in the




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   downstream Match Market including by granting Willow-backed ACE an illegal monopoly in the

   market.

   Harm to Competition

          121.    The Defendants’ anticompetitive conduct described herein has harmed and will

   continue to harm competition in both the League Market and the Match Market in the relevant

   geographic area. Their distortion of the competitive playing field has not only harmed American

   Cricket (and any other Proposers) but also competition generally, and thus consumers.

          122.    By running a sham bidding process in the League market, the Defendants corrupted

   the competitive process that would have ensured that a bidder possessing top-notch capabilities,

   experience, prospects for success, and profitability would be awarded the coveted partnership. A

   direct consequence of the Defendants’ exercise of their market power in the League market is that

   the “winning” bidder, Willow-backed ACE, is less qualified to ensure a successful launch of T20

   matches in the United States. As a further direct consequence, there will now be fewer matches

   offered, the offered matches will be of a lower quality, the matches will be less appealing to cricket

   fans, and sponsors and advertisers will be less inclined to invest their marketing dollars. As a

   result, cricket fans and players will receive an inferior product relative to what they would have

   enjoyed had the bidding process been fair and unbiased.

          123.    Typically, having an RFP process, as happened here, would benefit competition.

   But a fundamental underpinning of the federal antitrust laws is that fair competition means legal

   competition―not cutting corners, cheating, or breaking the law, whether it is price fixing, bid

   rigging, or other anticompetitive acts. That is what antitrust law is about: ensuring that consumers

   benefit from fair and legal competition on quality, price, innovation, and service.




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          124.    The antitrust laws do not allow companies to pretend to run a fair bidding process

   and then reach agreements to steer business to “favored” bidders and unfairly disregard or exclude

   other bidders—particularly when it is done for self-interested purposes like keeping oneself in a

   position of authority rather than selecting a proposal that scored higher on all objective measures

   relevant to the RFP process and the sponsoring organization’s stated mission. Here, a “gatekeeper”

   monopolist is part of a scheme to do just that. Despite American Cricket’s good-faith effort to

   present the best RFP response to benefit cricket fans and players in the United States, those groups

   and all U.S. cricket consumers have been prevented from receiving the benefit of fair competition.

   In fact, by selecting ACE’s Willow-backed inferior bid, USA Cricket and the ICC, with assistance

   from Defendants Marathe, Parthen, the Conflicted Board Members, and the John Doe Defendants,

   tellingly have acted against their economically rational self-interests in promoting cricket in the

   United States (instead acting in favor of their personal interests as conspirators).

          125.    The end result of this corrupt process is, unfortunately, the loss of the benefits of

   competition in the markets that would have benefitted consumers of the sports and its business

   opportunities: more matches, higher quality matches, lower ticket prices, and a better chance of

   the league’s commercial success.

                                              COUNT ONE

        (Section 1 of the Sherman Act, 15 U.S.C. § 1 against USA Cricket, the ICC, ACE,
                  Chairman Marathe, the Conflicted Board Members, Parthen,
                             and certain of the John Doe Defendants)

          126.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

          127.    USA Cricket, the ICC, ACE, Chairman Marathe, the Conflicted Board Members,

   Parthen, and certain of the John Doe Defendants have entered into a continuing agreement and

   conspiracy that constitutes an unreasonable restraint of trade, the purpose of which is to eliminate


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   or reduce competition in the League Market by excluding American Cricket and its predecessor-

   in-interest, Global.

          128.    As described herein, USA Cricket, the ICC, ACE, Chairman Marathe, the

   Conflicted Board Members, Parthen, and certain of the John Doe Defendants have repeatedly

   sought to harm competition in the League Market in the United States by attempting to exclude

   from it any and all entities associated with Mr. Pandya, including American Cricket and Global,

   to the detriment of American cricket enthusiasts and commercial supporters of the sport, who

   would have benefitted from a more robust and competitive T20 league offering that would have

   been the result of a free and fair RFP process. Such economically irrational activity (as it goes

   against the economic interests of USA Cricket and the ICC that would benefit from the greater

   growth of cricket as a result of a fair and competitive RFP process) can only plausibly be explained

   by an anti-competitive conspiracy whose primary objective was to reduce competition and exclude

   competitors from the market.

          129.    First, by agreeing with each other to impair competition and keep out or drive out

   American Cricket and Global from the League Market by, among other things, designing an RFP

   process that created the illusion of a free and fair competitive process that actually had a

   predetermined victor, disregarding American Cricket’s more financially remunerative RFP

   response in favor of a bidder that had explicitly and/or implicitly conspired with USA Cricket

   Board members including the Conflicted Board Members, immediately beginning direct

   negotiations with its predetermined victor without fully vetting the other proposals, attempting to

   change the terms of engagement of the RFP process in a way that would have stripped American

   Cricket of its rights and ability to challenge the malfeasance of USA Cricket, the ICC, Chairman

   Marathe, the Conflicted Board Members, and Parthen, and finally excluding American Cricket




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   from further participation in the RFP process when it refused to accept the New Terms of

   Engagement, USA Cricket, the ICC, ACE, Chairman Marathe, the Conflicted Board Members,

   Parthen, and certain of the John Doe Defendants have engaged in a per se violation under Section

   1 of the Sherman Act, 15 U.S.C. § 1, namely a group boycott.

          130.     Second, even if such an agreement is not considered a per se group boycott in

   violation of Section 1, the alleged agreement is sufficiently anticompetitive on its face that courts

   need only engage in a “quick look” rule-of-reason analysis to find it an unreasonable restraint of

   trade in the League Market in the United States given the market power of USA Cricket and the

   ICC. Because basic economics dictate that creating a phony RFP process with a predetermined

   victor, disregarding American Cricket’s more financially remunerative RFP response, and

   excluding American Cricket from further participation in the RFP process in favor of a corrupt

   bidder will distort the competitive process in the League Market in the United States, resulting in

   severe anticompetitive consequences in the Match Market, the analysis turns to whether USA

   Cricket, the ICC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen, and certain

   of the John Doe Defendants can provide any procompetitive justification for their anticompetitive

   practices.    There are no procompetitive justifications for disregarding a more financially

   remunerative RFP response, awarding the bid to a conflicted bidder, excluding a bidder from

   further participation in the RFP process unless it waived its rights to enforce its legal rights, and

   reducing fair competition in the relevant market. It was all a shell game to replace competition

   with a façade that sought to enshrine the conflicted, self-interested, incumbent participants in the

   sport of cricket and not a newcomer who had credentials and resources.

          131.     Third, even absent per se or “quick look” treatment, the alleged agreement has

   distorted and will continue to distort competition in the League Market in the United States, the




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   effects of which are felt most acutely by all participants in the Match Market. By conspiring to

   disregard American Cricket’s more financially generous RFP response and excluding American

   Cricket from further participation in the RFP process, USA Cricket, the ICC, ACE, Chairman

   Marathe, the Conflicted Board Members, Parthen, and certain of the John Doe Defendants’

   agreement harms competition by turning what should be a fair and transparent bidding process

   into a sham. The harm to competition—depriving American cricket enthusiasts of a competitive

   process to select the most robust and competitive T20 league offering, denying American cricket

   fans, players, and sponsors access to the most robust T20 matches, and robbing American Cricket

   (and other Proposers) of fair consideration—satisfies even a full economic rule-of-reason analysis.

          132.    Under any form of antitrust analysis, the illegal restraints from USA Cricket, the

   ICC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen, and certain of the John

   Doe Defendants’ agreement restricts competition in the League Market in the United States.

          133.    This agreement between USA Cricket, the ICC, ACE, and certain John Doe

   Defendants restricting competition in the League Market in the United States has no legitimate

   business purpose or offsetting procompetitive impact.

          134.    This agreement is a direct and proximate cause of harm to American Cricket

   because it has allowed others to take business from American Cricket―business that American

   Cricket would have competed fairly for and secured if it were competing on a legitimate playing

   field. American Cricket’s injury is based on the suppression of competition due to Defendants’

   unlawful agreement. It is of the type the antitrust laws were intended to prevent and flows from

   that which makes the relevant Defendants’ agreement unlawful.

          135.    Competition in the League Market in the United States has been and will continue

   to be restricted by USA Cricket, the ICC, ACE, Chairman Marathe, the Conflicted Board




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   Members, Parthen, and certain of the John Doe Defendants’ course of conduct, and consumers in

   the League Market and the Match Market in the United States have been and will continue to be

   harmed by this reduction in competition, if USA Cricket, the ICC, ACE, Chairman Marathe, the

   Conflicted Board Members, Parthen, and certain of the John Doe Defendants are permitted to

   continue their illegal acts described herein.

          136.    American Cricket has suffered and will continue to suffer injury as a direct result

   of USA Cricket, the ICC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen, and

   certain of the John Doe Defendants’ unlawful agreement.

          137.    American Cricket has suffered and will continue to suffer injury as the direct result

   of the illegal restraints alleged herein. Further, the injury American Cricket has suffered as a result

   of USA Cricket, the ICC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen, and

   certain of the John Doe Defendants’ illegal acts constitutes antitrust injury.

                                              COUNT TWO

    (Section 2 of the Sherman Act, 15 U.S.C. § 2, against USA Cricket, the ICC, Willow, CAC,
                ACE, Chairman Marathe, the Conflicted Board Members, Parthen,
                            and certain of the John Doe Defendants)

          138.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

          139.    In furtherance of the conspiracy alleged above in Count One, USA Cricket, the

   ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen, and certain

   of the John Doe Defendants have, through their anticompetitive actions, intentionally and

   wrongfully conspired to create and maintain monopoly power in the Match Market in the U.S. in

   violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

          140.    USA Cricket and the ICC’s conspiracy to exclude any and all entities associated

   with Mr. Pandya, including American Cricket and Global, led to USA Cricket seeking a means by


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   which to choose a commercial development partner other than an entity associated with Mr.

   Pandya. USA Cricket found a willing partner in Willow and/or CAC, and together they conspired

   to create an arbitrary and illusory RFP process. In exchange for Willow and/or CAC funding their

   election campaigns, the Conflicted Board Members along with the rest of USA Cricket created a

   corrupt RFP process that rewarded Willow-backed ACE with an illicit monopoly in the Match

   Market in the United States. By conspiring to corrupt the bidding process for the creation and

   operation of a T20 league in the United States, USA Cricket, the ICC, Willow, CAC, ACE,

   Chairman Marathe, the Conflicted Board Members, Parthen, and certain of the John Doe

   Defendants seek to monopolize the Match Market in the United States to the detriment of

   competition and consumers.

          141.     As described herein, USA Cricket, the ICC, Willow, CAC, ACE, Chairman

   Marathe, the Conflicted Board Members, Parthen, and certain of the John Doe Defendants have

   repeatedly sought to harm competition by attempting to exclude from the Match Market any and

   all entities associated with Mr. Pandya, including American Cricket and Global, to the detriment

   of the sport of cricket in the United States and American cricket enthusiasts, who would have

   benefitted from American Cricket’s more robust offerings.

          142.     By agreeing with each other to impair competition and drive American Cricket out

   of the Match Market by, among other things, disregarding American Cricket’s more financially

   generous RFP response, awarding Willow-backed ACE the exclusive rights to provide services in

   the Match Market, and excluding American Cricket from further participation in the Match

   Market, USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted Board

   Members, Parthen, and certain of the John Doe Defendants, have conspired to monopolize the

   Match Market.




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          143.    The common purpose and impact of the conspiracy is to harm American Cricket’s

   ability to compete and prevent fair competition in the Match Market in the U.S.

          144.    USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted

   Board Members, Parthen, and certain of the John Doe Defendants have acted willfully, knowingly,

   and with specific intent in furtherance of the conspiracy by corrupting the bidding process to ensure

   that Willow-backed ACE was the exclusive winning Proposer, to the detriment of American

   cricket enthusiasts and the sport of cricket in the United States. Given USA Cricket’s apparent

   sole award of the rights in the RFP process to Willow-backed ACE, and their ongoing negotiations

   to implement that award, there is a dangerous probability of Willow-backed ACE gaining

   monopoly power in the Match Market in the United States as a result of this conspiracy, if it has

   not already done so or is close to doing so already given the parties’ anticompetitive and

   exclusionary tactics.

          145.    The conspiracy of USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe,

   the Conflicted Board Members, Parthen, and certain of the John Doe Defendants is a direct and

   proximate cause of harm to American Cricket because it has corrupted the RFP process (against

   the interests of American cricket enthusiasts and others involved in supporting the sport of cricket

   in the United States), robbing all parties of the benefits that would flow from a fair bidding process.

   American Cricket should have had the opportunity to compete on a legitimate playing field—one

   not corrupted by the conspiracy of USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe,

   the Conflicted Board Members, Parthen, and certain of the John Doe Defendants. American

   Cricket’s injury is of the type the antitrust laws were intended to prevent and flows from that which

   makes unlawful the conspiracy of USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe,

   the Conflicted Board Members, Parthen, and certain of the John Doe Defendants.




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          146.    USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted

   Board Members, Parthen, and certain of the John Doe Defendants, through their anticompetitive

   actions described above, have conspired to monopolize the Match Market, in violation of the

   Sherman Act, 15 U.S.C. § 2.

          147.    Competition in the Match Market in the U.S. has been and will continue to be

   harmed by USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted Board

   Members, Parthen, and certain of the John Doe Defendants’ course of conduct, and consumers in

   the Match Market in the United States have been and will continue to be harmed by a reduction in

   competition and lower quality if USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe,

   the Conflicted Board Members, Parthen, and certain of the John Doe Defendants are permitted to

   continue their illegal acts described herein.

          148.    As a direct and proximate result of USA Cricket, the ICC, Willow, CAC, ACE,

   Chairman Marathe, the Conflicted Board Members, Parthen, and certain of the John Doe

   Defendants’ conduct, competition in the relevant markets has been injured, cricket enthusiasts in

   the United States have been robbed of fair consideration of the most robust offering, and American

   Cricket has been excluded from the Match Market. The injury American Cricket has suffered as

   a result of USA Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted Board

   Members, Parthen, and certain of the John Doe Defendants’ conspiracy to monopolize the Match

   Market constitutes antitrust injury.

                                            COUNT THREE

      (Section 6-4-104 of the Colorado Antitrust Act of 1992 against USA Cricket, the ICC,
       Willow, CAC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen,
                             and certain of the John Doe Defendants)

          149.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.


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          150.    Section 6-4-104 of the Colorado Antitrust Act of 1992 provides that “[e]very

   contract, combination in the form of a trust or otherwise, or conspiracy in restraint of trade or

   commerce is illegal.”

          151.    The actions engaged in by Defendants, as set forth in the preceding paragraphs,

   constitute acts in restraint of trade or commerce, in violation of the Colorado Antitrust Act of 1992.

                                             COUNT FOUR

      (The Cartwright Act, Cal. Bus. & Prof. Code § 16720, against USA Cricket, the ICC,
       Willow, CAC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen,
                           and certain of the John Doe Defendants)

          152.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

          153.    Defendants’ combination, trust, or conspiracy was substantially carried out and

   effectuated within the State of California.

          154.    The USA Cricket Board of Directors met regularly in California and conducted

   substantial activities in California in connection with the RFP Bid Process. In addition, USA

   Cricket’s Chairperson corresponded with American Cricket from California regarding the RFP

   Bid Process, and USA Cricket offered to meet with American Cricket in California.

          155.    American Cricket’s RFP Response identified California as a Target Market and

   included a detailed analysis of, among other things, the economics and demographics of the San

   Francisco-Oakland-Hayward metropolitan area. In particular, American Cricket’s RFP Response

   proposed building a cricket-centric, multi-purpose entertainment stadium and accompanying

   lifestyle center in California. American Cricket projected that such a stadium would create

   approximately 17,800 new jobs and have an estimated economic impact of $100 million in that

   area. American Cricket projects that building stadiums in other cities will create roughly the same

   number of new jobs and economic impact. Beginning in 2017, and continuing to present, USA


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   Cricket, Parthen, and the ICC—and at other times Willow, CAC, ACE, Chairman Marathe, the

   Conflicted Board Members, and the John Doe Defendants—entered into and engaged in a

   continuing unlawful trust for the purpose of unreasonably restraining trade in violation of Section

   16720 of the California Business and Professions Code.

          156.    These violations of Section 16720 of the California Business and Professions Code,

   consisted, without limitation, of a continuing unlawful trust and concert of action between

   Defendants, the primary goal of which is to prevent fair competition in the League Market and the

   Match Market in the United States. For purposes of forming and effectuating the unlawful trust,

   Defendants combined and conspired to take the following acts (among others):

                  a. Exclude from the League Market and the Match Market any and all entities

                      associated with Mr. Pandya, including American Cricket and Global.

                  b. Create a sham bidding process designed to select Willow-backed ACE (which

                      had multiple relationships with USA Cricket board members), instead of

                      providing fair review to American Cricket (and other Proposers).

          157.    The combination and conspiracy alleged herein had the following effects:

                  a. Depriving the League Market and the Match Market—as well as American

                      Cricket and American cricket enthusiasts—of a fair bidding process.

                  b. Depriving American Cricket (and other Proposers) of a full and fair review as

                      part of the RFP process, thus reducing competition in the League Market and

                      the Match Market in the United States.

          158.    As a result of Defendants’ conduct, American Cricket has been excluded from the

   League Market and the Match Market in the United States.




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          159.    As a direct and proximate result of Defendants’ conduct, American Cricket has

   been injured in its business and property through its exclusion from the League Market and the

   Match Market in the United States.

                                            COUNT FIVE

    (California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq., against USA
   Cricket, the ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted Board Members,
                       Parthen, and certain of the John Doe Defendants)

          160.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

          161.    California’s Unfair Competition Law, codified at California Business &

   Professions Code § 17200 et seq. (the “UCL”), broadly prohibits any unlawful, unfair, and

   fraudulent business acts or practices, and governs, among other things, anti-competitive business

   practices. By committing the acts and practices alleged herein, Defendants have engaged in

   unlawful, unfair, and fraudulent business practices in violation of the UCL.

          162.    Defendants violated the UCL’s unlawful prong by, among other things, violating

   federal and state antitrust laws, including the federal Sherman Act (15 U.S.C. §§ 1, 2) and the

   California Cartwright Act (Cal. Bus. & Prof. Code § 16720). Defendants also violated the UCL’s

   unlawful prong by improperly interfering with American Cricket’s existing and prospective

   business relationships, including by interfering with American Cricket’s rights under the License

   Agreement and by excluding American Cricket from the League Market and the Match Market in

   the United States.

          163.    Defendants violated the UCL’s unfair prong by, among other things, engaging in

   concerted actions designed to unreasonably restrain the League Market and the Match Market, by

   taking actions that significantly threaten or harm competition, and by engaging in monopolistic

   and/or anticompetitive practices. Defendants also violated the UCL’s unfair prong by violating


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   federal and state antitrust laws, including the federal Sherman Act (§§ 1, 2) and the California

   Cartwright Act (Cal. Bus. & Prof. Code § 16720), and/or the policy and spirit of such antitrust

   laws.

           164.   Defendants violated the UCL’s fraud prong by, among other things, engaging in a

   fraudulent scheme designed to induce American Cricket into participating in the RFP Bid Process

   and preparing an RFP without disclosing that Defendants did not intend to follow an objective bid

   process, that Defendants did not intend to abide by the specific terms and conditions set forth in

   the RFP, that Defendants changed the terms and conditions of such process and required consent

   to them and other onerous and extraordinary commitments in order to allow continued

   consideration in such process, and that Defendants had already selected a different Proposer.

           165.   As a direct and proximate result of Defendants’ unlawful, unfair, and fraudulent

   business practices, American Cricket has suffered, and continues to suffer, damages and

   irreparable harm. American Cricket is entitled to, among other things, restitution in an amount to

   be proven at trial and preliminary and permanent injunctive relief restraining Defendants’

   wrongdoing and ongoing anti-competitive behavior.

                                             COUNT SIX

           (Tortious Interference with Prospective Business Advantage against the ICC)

           166.   American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

           167.   The ICC instructed USA Cricket not to select American Cricket as the winner of

   the RFP Bid Process, irrespective of the objective strength of American Cricket’s Bid Response.

           168.   The ICC knowingly and improperly interfered with the RFP Bid Process by

   instructing USA Cricket to select Willow-backed ACE and not any other Proposer.




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          169.    American Cricket has learned from members of USA Cricket’s Board of Directors

   that certain Board members preferred American Cricket over any other Proposer and wanted USA

   Cricket to conduct further negotiations with American Cricket.

          170.    Based on the preferences of certain Board members, the objective strength of

   American Cricket’s RFP Response, and the experience of Mr. Pandya and the American Cricket

   team, among other factors, American Cricket had a reasonable likelihood that it would have

   entered into a contract with USA Cricket in the absence of the ICC’s tortious conduct. Indeed,

   USA Cricket asked only two Proposers to sign the New Terms of Engagement and advance to

   “Phase II”: Willow-backed ACE and American Cricket.

          171.    As a result of the ICC’s tortious conduct, American Cricket has suffered, and will

   continue to suffer, damages.

                                          COUNT SEVEN

                       (Tortious Interference with Contract against the ICC)

          172.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

          173.    In 2016, Global’s principal, Mr. Pandya, met with the ICC’s Chairman and other

   ICC members who were present in London to discuss, among other things, the License Agreement.

          174.    During this meeting, Mr. Pandya and the ICC’s Chairman discussed the License

   Agreement at length.

          175.    The ICC was thus aware of the existence of the License Agreement.

          176.    In particular, the ICC was aware of § 11.4 of the License Agreement, which

   obligates USACA to “cause ICC or ICC’s nominated body for the development of cricket in USA,

   to execute the necessary agreements which shall have the effect of providing or continuing, as the




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   case may be, the Licensed Rights to GSV, such that GSV’s rights under this Agreement are not

   jeopardized in the event of suspension o[r] termination of USACA’s membership with ICC.”

          177.    Upon information and belief, the ICC refused to execute any agreements

   contemplated under § 11.4 of the License Agreement.

          178.    Upon information and belief, the ICC prevented USA Cricket from executing any

   agreements contemplated under § 11.4 of the License Agreement.

          179.    By refusing to execute any such agreements and preventing USA Cricket from

   executing any such agreements, the ICC made it impossible for USACA to perform its obligations

   under the License Agreement, thereby causing USACA to breach the License Agreement.

          180.    By failing to perform its obligations, USACA breached the License Agreement.

          181.    The ICC intended for USACA to breach the License Agreement. For instance, the

   Chairman of the ICC made it clear to Mr. Pandya that the ICC had no interest in working with any

   entity associated with Mr. Pandya for the reasons identified above. The ICC Chairman also

   pointed out to Mr. Pandya that other business people have failed to develop their cricket business

   if the ICC does not recognize them.

          182.    The ICC acted improperly in causing USACA to breach the License Agreement.

          183.    In particular, the ICC acted in its own self-interest—against the interest of its

   members and in violation of its Code of Ethics—in preventing American Cricket from obtaining

   rights to a professional T20 cricket league in the U.S.

          184.    The ICC’s conduct was not a remote factor in USACA’s breach, but rather was a

   direct and proximate cause of the breach.

          185.    As a result of the ICC’s tortious conduct, American Cricket has suffered, and will

   continue to suffer, damages.




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                                            COUNT EIGHT

    (Civil Conspiracy against USA Cricket, the ICC, Chairman Marathe, the Conflicted Board
                   Members, Parthen, and certain of the John Doe Defendants)

          186.    American Cricket incorporates by reference, as if fully set forth herein, each and

   every one of the foregoing numbered paragraphs.

          187.    USA Cricket, the ICC, the Conflicted Board Members, and certain of the John Doe

   Defendants acted together with the purpose of depriving American Cricket of its rights under the

   License Agreement.

          188.    In particular, USA Cricket, the ICC, the Conflicted Board Members, and certain of

   the John Doe Defendants intentionally made it impossible for USACA to perform its obligations

   under § 11.4 of the License Agreement.

          189.    In doing so, USA Cricket, the ICC, the Conflicted Board Members, and certain of

   the John Doe Defendants caused USACA to breach the License Agreement.

          190.    As a proximate result of those Defendants’ illegal actions, American Cricket has

   suffered, and will continue to suffer, damages.

                                       RELIEF REQUESTED

          WHEREFORE, American Cricket respectfully requests that this Court:

          A.      Enter judgment in favor of American Cricket and against Defendants USA Cricket,

   ICC, Willow, CAC, ACE, Chairman Marathe, the Conflicted Board Members, Parthen, and John

   Does 3-10.

          B.      Award American Cricket its actual damages, together with prejudgment interest

   and costs, as a result of Defendants’ unlawful actions in an amount to be determined at trial.

          C.      Preliminarily and permanently enjoin USA Cricket, the ICC, Chairman Marathe,

   the Conflicted Board Members, and Parthen from (i) taking any further action to support or



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   implement their selection of a winner in connection with the corrupted RFP Bid Process described

   herein; (ii) excluding American Cricket from, or failing to give objective and unbiased

   consideration to American Cricket in, any current or future selection process in connection with a

   professional T20 cricket league in the U.S.; and (iii) using unfair practices in any selection process

   or implementation of their programs in connection with a professional T20 cricket league in the

   U.S.

           D.      Award treble damages, interest, and attorneys’ fees to American Cricket pursuant

   to the Sherman Antitrust Act, 15 U.S.C. §§ 1-2; the Clayton Act, 15 U.S.C. § 15; § 6-4-114 of the

   Colorado Antitrust Act; and § 16750(a) of the Cartwright Act.

           E.      Award American Cricket damages and injunctive relief under Cal. Bus. & Prof.

   Code § 17200 et seq.

           F.      Award American Cricket such other relief as this Court deems just and proper.

                                              JURY DEMAND

           Pursuant to Federal Rule of Civil Procedure 38(b), American Cricket hereby demands a

   trial by jury on all issues triable of right by a jury.

   DATED:          May 28, 2019
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